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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES HARRIS, - Civil No. 3:20-cv-631
Plaintiff : (Judge Mariani)
V. .

UNITED STATES OF AMERICA, et at.,
Defendants
ORDER
AND NOW, this Be day of January, 2021, upon consideration of Plaintiff's
motion (Doc. 8) for appointment of counsel, and in accordance with the Memorandum
issued this date, IT IS HEREBY ORDERED THAT the motion (Doc. 8) is DENIED without

prejudice.

  

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Robert D. Mariani
United States District Judge
